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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CRIMINAL NO. 21-cr-670
               v.                            :
                                             :
STEPHEN K. BANNON,                           :
                                             :
                      Defendant.             :

     UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION TO COMPEL

       The Defendant, Stephen K. Bannon, has filed a motion to compel production of the

Government’s internal deliberations with respect to two additional referrals for contempt of

Congress that the U.S. House Select Committee to Investigate the January 6th Attack on the U.S.

Capitol (“the Committee”) made to the U.S. Attorney’s Office. ECF No. 86. The Defendant

claims he is entitled to the materials under the Court’s March 16, 2022, discovery order, id. at 3-

4, and to support a purported entrapment-by-estoppel defense, id. at 4-11. He is wrong on both

counts and his motion should be denied.

       First, the Court’s March 16 Order required the Government to produce records reflecting

“official DOJ policy.” No such records exist in connection with the Department’s consideration

of the congressional contempt referrals of Mark Meadows or Daniel Scavino.                And the

Government has never understood the Court to have required the Government to provide internal

analysis and attorney work product material relating to its prosecutorial decisionmaking in

particular criminal matters, which is what the Defendant seeks here, particularly given courts’

well-established recognition that delving into such matters intrudes on a “special province” of the

Executive. See United States v. Armstrong, 517 U.S. 456, 464 (1996) (discussing the high bar

litigants must meet to be entitled to government records regarding prosecutorial decisionmaking

in the context of selective prosecution claims). Instead, consistent with its understanding of the
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Court’s order, the Government has provided records reflecting the Department’s official view of

the criminal penalties applicable to current or former government officials raising executive

privilege claims or immunity in response to congressional process—including letters explaining

declinations that referenced “official DOJ policy.” It provided all of these records on April 1 and

4, 2022, and has nothing further in its possession to provide.

       Second, the Defendant claims that the Government’s internal deliberations are

discoverable to support his purported entrapment-by-estoppel defense. They are not.

       At this stage, despite taking yet another bite at the apple to make out such a defense under

the guise of a motion to compel, the Defendant still cannot identify specific Office of Legal

Counsel (“OLC”) opinions on which he allegedly relied in deciding to defy the Committee’s

subpoena. He has not even identified a single OLC opinion that sanctions his conduct, even putting

aside for a moment whether he relied on it. The Defendant’s motion to compel instead suggests

that his purported defense now is that he and his attorney independently extrapolated from

inapplicable OLC opinions to conclude that he could lawfully defy the Committee’s subpoena.

See, e.g., ECF No. 86 at 5 (claiming that based on the “rationale” for OLC opinions “there is no

legally relevant basis for distinguishing between current and former executive branch officials on

the one hand and ‘private citizens’”); id. at 7 (claiming the “rationales” of various OLC opinions

do not “appl[y] with any less force to the ‘private citizen’”). That is not an entrapment-by-estoppel

defense. It is a mistake-of-law defense that is unavailable to him under the contempt statute. See

Watkins v. United States, 354 U.S. 178, 208 (1957) (“[T]he witness acts at his peril. he is ‘* * *

bound rightly to construe the statute.’ An erroneous determination on his part, even if made in the

utmost good faith, does not exculpate him if the court should later rule that the questions were

pertinent to the question under inquiry.” (quoting Sinclair v. United States, 279 U.S. 263, 299



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(1929) (“The refusal to answer was deliberate. . . . He was bound rightly to construe the statute.

His mistaken view of the law is no defense.”))). There is no estoppel defense available to criminal

defendants under which they can cobble together out-of-context one-liners from disparate

government writings and claim their conduct was legal—such a defense would have no limits and

would erase criminal accountability across the board.

       The Defendant’s failure, across multiple briefings and in oral argument, to identify even a

single statement by the government sanctioning his conduct is fatal to his ability to present an

entrapment-by-estoppel defense at trial—and the internal deliberative material that he now seeks

regarding other individuals in other circumstances does nothing to advance his cause. The

threshold requirement to present an estoppel defense at trial is that the Defendant present some

evidence that he relied on a government statement that the Defendant’s total defiance—not the

White House Chief of Staff’s or the White House Counsel’s, but the Defendant’s total defiance, in

his particular circumstances—was lawful. See United States v. Abcasis, 45 F.3d 39, 43-44 (2d Cir.

1995) (“[T]he defendant’s conduct must remain within the general scope of the solicitation or

assurance of authorization; this defense will not support a claim of an open-ended license to

commit crimes in the expectation of receiving subsequent authorization.”); United States v.

Ramirez-Valencia, 202 F.3d 1106, 1109 (9th Cir. 2000) (explaining that the defendant “must do

more than show that the government made ‘vague or even contradictory statements’” and “must

show that the government affirmatively told him the proscribed conduct was permissible” (quoting

Raley v. State of Ohio, 360 U.S. 423, 438 (1959))); Gov’t Mot. in Limine, ECF No. 52, at 8-9

(collecting cases). The Defendant has not met that threshold requirement, and the Government’s

internal deliberations on other contempt matters, regarding differently-situated individuals,

referred to the U.S. Attorney’s Office weeks and months after the Defendant’s willful default, do



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nothing to correct his failure. Indeed, given that the materials he seeks were generated after his

default and are purely internal deliberative materials, the Defendant cannot possibly show that he

relied upon them when he made his deliberate decision to default. Cf. United States v. Libby, 475

F. Supp 2d 73, 87-88 (D.D.C. 2007) (excluding evidence where its relevance depended on

evidence that the defendant had relied on it and the defendant failed to establish that he had done

so). Having failed to meet the first element of the defense, he cannot present it at trial and any

evidence relating to a purported entrapment-by-estoppel defense, therefore, is not relevant, let

alone material, to either party’s case-in-chief and not discoverable. See Armstrong, 517 U.S. at

462 (“[I]n the context of Rule 16 ‘the defendant’s defense’ means the defendant’s response to the

Government’s case in chief.”); Brady v. Maryland, 373 U.S. 83, 87 (1963) (requiring disclosure

of material favorable to the Defendant only if it is “material either to guilt or punishment”); United

States v. Bagley, 473 U.S. 667, 682 (1985) (finding information material for Brady purposes “only

if there is a reasonable probability that, had the evidence been disclosed to the defense, the result

of the proceeding would have been different”); Fed. R. Crim. P. 16(a)(1)(E)(i) (allowing discovery

of records that are “material to preparing the defense”); see also Fed. R. Crim. P. 16(a)(2) (Rule

16(a)(1)(E) “does not authorize the discovery or inspection of reports, memoranda, or other

internal government documents made by an attorney for the government or other government agent

in connection with investigating or prosecuting the case.”); United States v. Safavian, 233 F.R.D.

12, 20 (D.D.C. 2005) (“[T]he internal deliberative processes of the Department of Justice, the FBI,

and the GSA-OIG are irrelevant to the preparation of a defense.”).1



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         As he did in his prior motion to compel, ECF No. 28 at 7-8, the Defendant again cites
internal Department policies and Local Rule 5.1(b) as additional authorities for his request, ECF
No. 86 at 13-15. As the Government has previously pointed out, internal Department policies
create no enforceable rights against the Government and Local Rule 5.1(b) does not purport to
expand the Government’s Brady obligations and could not do so under federal law. See Gov’t
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       Moreover, even if the Defendant had identified some Department writing that concluded

total defiance of both a document and testimonial demand was allowed by a private citizen

subpoenaed in relation to his private affairs, the Defendant still has not shown why the

Department’s internal deliberations relating to the former Chief of Staff and former Deputy Chief

of Staff, subpoenaed for information relating to the time during which they served in those roles,

would have any bearing on the reasonableness of his reliance. Tellingly, the Defendant does not

cite to the standard for reasonableness under an entrapment-by-estoppel theory, which requires

that the Defendant show that “a person truly desirous of obeying the law would have accepted the

information as true, and would not have been put on notice to make further inquiries.” United

States v. W. Indies Transport, Inc., 127 F.3d 299, 313 (3d Cir. 1997) (internal quotation marks and

citation omitted). Materials generated after the Defendant’s default could not possibly have

informed the reasonableness of his actions at the time he took them. In any event, as the

Government has identified before, OLC opinions are consistent in their admonishments that

whether the law excuses someone from complying with a congressional subpoena is a fact-based

inquiry, even with respect to current or former executive branch officials subpoenaed in their

capacity as such.

       Finally, the Defendant suggests in passing, with no analysis, that the information he seeks

is discoverable to the extent it may relate to a selective prosecution claim. See ECF No. 86 at 9-

11 (claiming the Defendant “is entitled to make a record . . . where the Government has made an

arbitrary non-prosecution decision . . . . Mr. Bannon is entitled to know the basis for the DOJ’s

decision not to prosecute [Meadows and Scavino]”). To be entitled to discovery relating to a

selective prosecution claim, the Defendant must offer “some evidence tending to show the



Opp’n to Mot. to Compel, ECF No. 31 at 5, 7.
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existence of the essential elements of the defense,” Armstrong, 517 U.S. at 468 (citation omitted),

that is, “some evidence of both discriminatory effect and discriminatory intent,” United States v.

Bass, 536 U.S. 862, 863 (2002). The Defendant has not done so. To show discriminatory effect,

the Defendant must show “that the Government afforded ‘different treatment’ to persons ‘similarly

situated’ to him.” United States v. Judd, -- F. Supp. 3d --, 2021 WL 6134590, at *2 (D.D.C. 2021)

(quoting Armstrong, 517 U.S. at 470). “A similarly situated offender is one outside the protected

class who has committed roughly the same crime under roughly the same circumstances but

against whom the law has not been enforced.” United States v. Khanu, 664 F. Supp. 2d 28, 32

(D.D.C. 2009) (quoting United States v. Lewis, 517 F.3d 20, 27 (1st Cir. 2008)) (internal quotation

marks omitted). The Defendant does not identify of what “protected class” he believes Mark

Meadows and Dan Scavino are a part that he is not or why they are similarly situated to him.

Having failed to show the first prong, his request for discovery fails. See United States v. Blackley,

986 F. Supp. 616, 618 (D.D.C. 1997) (noting that both prongs must be met to sustain request for

discovery on selective prosecution claim) (citing Attorney General of U.S. v. Irish People, Inc.,

684 F.2d 928, 947 (D.C. Cir. 1982)). In any event, the Defendant has made no effort to meet the

second prong of discriminatory intent, which requires that he show “the selection was deliberately

based upon an unjustifiable standard such as race, religion, or other arbitrary classification, or was

designed to prevent or paralyze his exercise of constitutional rights.” United States v. Mangieri,

694 F.2d 1270, 1273 (D.C. Cir. 1982) (internal citations and quotation marks omitted); see also

Wayte v. United States, 470 U.S. 598, 610, (1985) (noting that discriminatory purpose “implies

that the decisionmaker . . . selected or reaffirmed a particular course of action at least in part

‘because of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group” (citations and

internal quotation marks omitted) (alteration in original)). The Defendant is not entitled to



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discovery of the Department’s internal prosecutorial deliberations on his baseless suggestion of

selective prosecution.

       The Defendant has provided no ground on which he is entitled to go fishing in the

Department’s internal deliberative and work product files. His motion to compel disclosure of the

Government’s analysis relating to contempt prosecutions of other individuals must be denied.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                     By:    /s/ Amanda R. Vaughn
                                            J.P. Cooney (D.C. 494026)
                                            Molly Gaston (VA 78506)
                                            Amanda R. Vaughn (MD)
                                            Assistant United States Attorneys
                                            United States Attorney’s Office
                                            555 4th Street, N.W.
                                            Washington, D.C. 20530
                                            (202) 252-1793 (Vaughn)
                                            amanda.vaughn@usdoj.gov




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